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   6 Attorneys for Defendant
     BRIAN WARNER
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   9                                     UNITED STATES DISTRICT COURT
  10                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11
  12 ESMÉ BIANCO,                                      CASE NO. 2:21-CV-3677-FLA-MAR
  13                        Plaintiff,                 DEFENDANT BRIAN WARNER’S
                                                       OPPOSITION TO ASHLEY
  14             vs.                                   WALTER’S EX PARTE
                                                       APPLICATION
  15 BRIAN WARNER a/k/a MARILYN
     MANSON, individually; MARILYN
  16 MANSON RECORDS, INC.,                             The Hon. Margo A. Rocconi
  17                        Defendants.
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       3310.090/1857702.1
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                1                                          OPPOSITION
                2             Nonparty Ashley Walters—who unilaterally called off her subpoenaed
                3 deposition without first securing a Court order or even filing a motion for protective
                4 order—is yet again resorting to self-help tactics to delay this proceeding. There is
                5 no good cause, and the application should be denied.
                6             Ms. Walters is represented by five lawyers from two law firms. Two of those
                7 lawyers are her “California counsel.” One of them, Ms. Sukhija-Cohen, has been
                8 out of the office for the “past few weeks.” There is no indication the other
                9 “California counsel,” Mr. Stormer, has been unavailable.
            10                 Yet, the day before Ms. Walter’s portion of the Joint Stipulation regarding
            11 her violation of the subpoena was due back to Defendants pursuant to L.R. 37-2.2,
            12 her counsel asked for an extension, on the grounds that Ms. Sukhija-Cohen was
            13 returning on September 20, and although finished, Ms. Walters’ responses to the
            14 Joint Stipulation needed to be “review[ed]” by Ms. Sukhija-Cohen before filing.
            15                This was not good cause. There is no reason (and no reason has been
            16 provided) why any of the other four lawyers—including one “California counsel”—
            17 could not (and still cannot) comply with the deadline.
            18                Instead of taking the time to finish their “review” of Ms. Walter’s portions of
            19 the Joint Stipulation, Ms. Walters’ counsel wasted time (1) emailing Defendants’
            20 counsel (on September 19 and 20), (2) emailing Courtroom Deputy Erica Bustos (on
            21 September 19), and (3) preparing the ex parte application. In fact, Ms. Sukhija-
            22 Cohen herself appears to have prepared and filed the ex parte application and
            23 declaration—instead of simply reviewing the already finished Joint Stipulation.
            24                Unfortunately, as the Joint Stipulation will show, this is just another attempt
            25 to secure unilateral, unwarranted delays. Ms. Walters has, despite the Local Rules
            26 and the Federal Rules, secured for herself yet another delay—this time because the
            27 hearing can now no longer go forward on October 12. The application should be
            28 denied.
KING, HOLMES,
 PATERNO &          3310.090/1857702.1                            1
SORIANO, LLP                                                                OPPOSITION TO EX PARTE APPLICATION
        Case 2:21-cv-03677-FLA-MAR Document 60 Filed 09/20/22 Page 3 of 4 Page ID #:717




                1 DATED:                 September 20, 2022   KING, HOLMES, PATERNO &
                                                              SORIANO, LLP
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                4                                             By:        /s/ Howard E. King
                5                                                              HOWARD E. KING
                6                                             Attorneys for Defendant BRIAN WARNER

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 PATERNO &          3310.090/1857702.1                              2
SORIANO, LLP                                                              OPPOSITION TO EX PARTE APPLICATION
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                1                                   CERTIFICATE OF SERVICE
                2             I hereby certify that on the 20th day of September 2022, all counsel of record
                3 who are deemed to have consented to electronic service are being served with a
                4 copy of this document via the Court’s CM/ECF system .
                5
                6 DATED:                 September 20, 2022   KING, HOLMES, PATERNO &
                                                              SORIANO, LLP
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                9                                             By:        /s/ Howard E. King
            10                                                                 HOWARD E. KING
            11                                                Attorneys for Defendant BRIAN WARNER

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 PATERNO &          3310.090/1857702.1                              3
SORIANO, LLP                                                               OPPOSITION TO EX PARTE APPLICATION
